Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 1 of 27




                                                           EXHIBIT 1




    EXHIBIT 1
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 2 of 27



                                 Cramton v. Grabbagreen Franchising LLC
                                    United States District Court for the District of Arizona
                                   November 13, 2020, Decided; November 13, 2020, Filed
                                                No. CV-17-04663-PHX-DWL

Reporter
2020 U.S. Dist. LEXIS 212008 *
                                                                 December 10, 2020. During a recent status conference,
                                                                 Defendants Eat Clean Holdings, LLC and Keely Newman
Kim Cramton, Plaintiff, v. Grabbagreen Franchising LLC, et
                                                                 (together, "Defendants") asked whether certain out-of-state
al., Defendants.
                                                                 witnesses would be permitted to testify remotely at trial, via
                                                                 video teleconference, in light of the COVID-19 pandemic.
                                                                 (Doc. 348.) In response, the Court ordered the parties to meet
                                                                 and confer about the issue and then submit briefing if they
Prior History: Cramton v. Grabbagreen Franchising LLC,
                                                                 were unable to reach an agreement. (Id.)
2018 U.S. Dist. LEXIS 190371 (D. Ariz., Nov. 6, 2018)
                                                                 The parties have now submitted their briefing. Defendants
                                                                 have identified eight out-of-state witnesses they would like to
                                                                 call remotely. (Doc. 354 at 1.) Plaintiff Kim Cramton [*2]
Counsel: [*1] For Kim Cramton, Plaintiff: Cara Molly             ("Plaintiff") agrees that six of those witnesses (Price, Gitt,
Louise Rogers, Todd Feltus, LEAD ATTORNEYS, Kercsmar             Mills, Ferrell, Glines, and Mavros) may testify at trial via
& Feltus PLLC, Scottsdale, AZ; Emily Dierberg Armstrong,         video teleconference. (Id.)1 However, Plaintiff objects to the
Michelle Ray Matheson, LEAD ATTORNEYS, Matheson &                introduction of remote testimony from the remaining two
Matheson PLC, Scottsdale, AZ.                                    witnesses, Griffin and Modders. (Id. at 1-2.)

                                                                 Defendants argue that Griffin and Modders should be allowed
For Grabbagreen Franchising LLC, Eat Clean Operations
                                                                 to testify remotely because (1) both witnesses "have health
LLC, Eat Clean Holdings LLC, Keely Newman, Defendants:
                                                                 conditions and are afraid of the risk to their health and lives to
Joel Taylor Fugate, John Jeffrey Bouma, Larry J Cohen, Erin
                                                                 fly to Phoenix to be in the Courthouse and to be around other
A Hertzog, LEAD ATTORNEYS, Cronus Law PLLC,
                                                                 people in the process who may be inflected with Covid 19"
Phoenix, AZ.
                                                                 and (2) both witnesses are expected to provide important
                                                                 testimony, as they were percipient witnesses to some of the
                                                                 key events in this case (phone calls between Plaintiff and
                                                                 Keely Newman), and their exclusion would be prejudicial to
Judges: Dominic W. Lanza, United States District Judge.
                                                                 Defendants. (Doc. 358.) Plaintiff, in turn, argues that Griffin
                                                                 should be required to testify in person because (1) Defendants
                                                                 didn't disclose Griffin as a potential witness until the final day

Opinion by: Dominic W. Lanza
                                                                 1 Plaintiffhas only agreed these witnesses may testify via video
                                                                 teleconference and does not agree they may testify via an audio-only
                                                                 link. (Doc. 359 at 2.) Midway through the briefing cycle, the Court
Opinion                                                          was informed that video teleconferencing would be unavailable
                                                                 during trial due to logistical and bandwidth limitations. (Doc. 356.)
                                                                 Upon receiving this information, the Court immediately relayed it to
                                                                 the parties. (Id.) However, since then, the Court has been informed
WO                                                               that the availability of video teleconferencing during trial has been
                                                                 restored. The Court sincerely apologies to the parties for providing
                                                                 inconsistent information on this topic. In any event, given the most
ORDER                                                            recent clarification, there is no need to address Plaintiffs' audio-only
                                                                 objection to the other six witness and Defendants' request to submit
The bench trial in this action is scheduled to begin on          supplemental briefing on this topic (Doc. 360) is denied as moot.
               Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 3 of 27
                                                                                                                       Page 2 of 3
                                               2020 U.S. Dist. LEXIS 212008, *2

of the discovery period, (2) Griffin's expected testimony is         remotely.
inadmissible hearsay, and (3) because Griffin's expected
testimony concerns a key issue, "this is precisely the type of       There is no merit to Plaintiff's argument that "good cause" and
witness [*3] whose credibility needs to be examined by the           "compelling circumstances" are lacking because the testimony
trier of fact." (Doc. 354 at 1-2.) Finally, Plaintiff argues that    of Griffin and Modders may end up being deemed
Modders should be required to testify in person because (1)          inadmissible at trial on hearsay and/or cumulativeness
"she is located in Canada and not within the United States" so       grounds. The inquiry under Rule 43(a) turns on whether the
this Court will be "unable to enforce her oath to testify            witness is unable to attend trial for unexpected reasons.
truthfully . . . and/or hold her in contempt if such a need          Whether the witness's testimony may prove objectionable
arose" and (2) her expected testimony is cumulative and              under the Federal Rules of Evidence is a different matter that
irrelevant. (Id. at 1.)                                              is best resolved during trial. In any event, the Court currently
                                                                     lacks enough information to decide, as a categorical matter,
The parties' dispute is governed by Rule 43(a) of the Federal        whether Griffin's and Modders's anticipated testimony will be
Rules of Civil Procedure. Rule 43(a) provides that, although         hearsay and/or cumulative.
witness testimony at trial ordinarily "must be taken in open
court," a district court "may permit testimony in open court by      Nor is there any merit to Plaintiff's argument that Modders's
contemporaneous transmission from a different location"              presence in a foreign country eliminates the possibility of
upon a showing of "good cause in compelling circumstances            remote testimony under Rule 43(a). In Hadad v. United Arab
and with appropriate safeguards." The 1996 advisory                  Emirates, 496 F.3d 658, 378 U.S. App. D.C. 67 (D.C. Cir.
committee notes to Rule 43(a) explain that "[t]he most               2007), the defendant opposed a request for a foreign witness
persuasive showings of good cause and compelling                     to testify "from Egypt by Internet video" under Rule 43(a),
circumstances are likely to arise when a witness is unable to        arguing—just as Plaintiff argues here—that the "testimony
attend trial for unexpected reasons, such as accident or illness,    was effectively unsworn because, with no extradition treaty
but remains able to testify from a different place." Id. (quoted     between the United States and Egypt, [the witness] could not
in Palmer v. Valdez, 560 F.3d 965, 969 n.4 (9th Cir. 2009)).         be prosecuted for perjury." Id. at 668-69. The district court
The 1996 advisory committee notes further explain that               rejected this argument, [*6] allowing the foreign witness to
"[g]ood cause and compelling circumstances may be                    testify, and the D.C. Circuit affirmed. Id. Hadad is just one of
established with relative [*4] ease if all parties agree that        many cases in which courts have invoked Rule 43(a) to allow
testimony should be presented by transmission."                      foreign witnesses to testify remotely and Plaintiff has not
                                                                     identified any decision holding otherwise. See, e.g., Lopez v.
Given these standards, the Court concludes that "good cause"         Miller, 915 F. Supp. 2d 373, 396 & n.9 (E.D.N.Y. 2013)
and "compelling circumstances" exist to allow all eight of the       (Dominican Republic); Virtual Architecture, Ltd. v. Rick,
above-mentioned witnesses (the six uncontested witnesses             2012 U.S. Dist. LEXIS 15118, 2012 WL 388507, *2
and two contested witnesses) to testify remotely at trial via        (S.D.N.Y. 2012) (Seychelles); Lopez v. NTI, LLC, 748 F.
video teleconference. Courts have not hesitated to find that         Supp. 2d 471, 480 (D. Md. 2010) (Honduras); Official Airline
the COVID-19 pandemic justifies allowing out-of-state                Guides, Inc. v. Churchfield Publications, Inc., 756 F. Supp.
witnesses to testify remotely in civil trials. See, e.g., Guardant   1393, 1398 n.2 (D. Or. 1990) (United Kingdom).
Health, Inc. v. Foundation Medicine, Inc., 2020 U.S. Dist.
LEXIS 192477, 2020 WL 6120186, *3 (D. Del. 2020)                     Rule 43(a) also requires the Court to utilize "appropriate
("Courts, including this Court, are regularly determining that       safeguards" when receiving remote witness testimony.
the ongoing COVID-19 pandemic constitutes good cause for             Although "[t]he case law defining what constitutes
remote testimony."); In re RFC & ResCap Liquidating Trust            appropriate safeguards is sparse . . . [t]he few cases that do
Action, 444 F. Supp. 3d 967, 971-72 (D. Minn. 2020)                  address the issue appear to focus on ensuring that the
(granting motion to allow out-of-state witnesses to testify via      purposes of Rule 43(a) are met—that the witness is giving
video teleconference because "the occurrence of COVID-               live testimony, under oath, which is received in open court
19—and its impact on the health and safety of the parties and        when the witness is subject to cross examination. Other
witnesses—is undoubtably an unexpected occurrence that               important safeguards include taking steps to establish a
nevertheless still permits witnesses to testify from a different     reliable means of transmission and figuring out a fair and
place"). Moreover, Plaintiff doesn't dispute Defendants'             workable process for handling documents or other trial
contention that Griffin and Modders suffer from health               exhibits." See 1 S. Gensler, Federal Rules of Civil Procedure,
conditions that render them particularly susceptible to              Rules and Commentary, Rule 43, at 1158-59 (2018) (footnote
complications arising from COVID-19. This constitutes a              omitted). The Court will utilize such safeguards here. And
particularly compelling reason to allow [*5] them to testify         because these safeguards will be in place, the Court is
                Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 4 of 27
                                                                                                                        Page 3 of 3
                                                 2020 U.S. Dist. LEXIS 212008, *6

confident it will be able, as the [*7] trier of fact in the bench      Keely's home/Grabbagreen office from January 2015 until her
trial, to evaluate the remote witnesses' credibility (which is         last day of employment on October 8, 2017." (Doc. 310 at
one of the reasons Plaintiff believes Griffin should be                94.) Given this backdrop, the Court is struggling to
required to testify in person).                                        understand why Defendants failed to disclose Griffin as a
                                                                       witness until after the time to notice depositions and conduct
As a final matter, although the Court is otherwise persuaded           written discovery had effectively expired.
that Griffin should be permitted to testify remotely at trial via
video teleconference under Rule 43(a), Plaintiff's brief raises        Having construed Plaintiff's objection as a motion, the Court
a separate issue that requires further discussion. As noted,           will set deadlines for response and reply briefs on this issue.
Plaintiff objects to Defendants' remote-testimony request in
part because Defendants didn't disclose Griffin as a potential         Accordingly,
witness until the final day of the discovery period. (Doc. 354
                                                                       IT IS ORDERED that:
at 1.) In the Final Pretrial Order, Plaintiff has separately
identified this untimely disclosure as a reason why Griffin            (1) Witnesses Price, Gitt, Mills, Ferrell, Glines, Mavros, and
should be precluded from testifying. (Doc. 310 at 95                   Modders may testify remotely at trial via video teleconference
["Plaintiff objects to this witness as not being timely                under Rule 43(a).
disclosed. This witness was not disclosed until the very last
day of discovery in this case, preventing Plaintiff from               (2) Defendants must, by November 20, 2020, file a response
deposing her or issuing any discovery related to her purported         (which may not exceed seven pages) addressing whether
testimony."].) And in their response to Plaintiff's brief,             Griffin should be precluded from testifying as a sanction
Defendants seem to acknowledge that they disclosed Griffin             under Rule 37 based on late disclosure.
on the last day of the discovery period. (Doc. 358 at 4
["Griffin [*8] was disclosed as a witness prior to the close of        (3) Plaintiff may, by November 30, 2020, file a reply (which
discovery on January 4, 2019 . . . ."].)                               may not [*10] exceed five pages).

The Court construes Plaintiff's objection in the Final Pretrial        Dated this 13th day of November, 2020.
Order as a motion to preclude Griffin from testifying as a
discovery sanction under Rule 37 of the Federal Rules of               /s/ Dominic W. Lanza
Civil Procedure. Although the parties have not briefed this
                                                                       Dominic W. Lanza
issue in any depth, the Court's initial reaction is that Plaintiff's
argument has some force. Courts have repeatedly held that it           United States District Judge
is improper to delay disclosing a key witness until the final
day of the discovery period. See, e.g., Jackson v. Am. Family
Mut. Ins. Co., 2012 U.S. Dist. LEXIS 32404, 2012 WL                      End of Document
845646, *3 (D. Nev. 2012) ("[T]he court finds Plaintiff's
disclosure of these three witnesses is not timely. . . . [T]hese
three witnesses, who were disclosed on the last day of the
extended discovery cutoff, are friends of the Plaintiff who
knew him before the March 20, 2004, accident. They were
disclosed too late for Defendant to conduct formal or informal
discovery."); Lopez v. United Parcel Serv. Gen. Serv. Corp.,
2006 U.S. Dist. LEXIS 117511, 2006 WL 8441558, *2 (D.
Nev. 2006) ("[A] party may not wait until the last day of
discovery to disclose the identity of witnesses or documents
that the party reasonably knows it may use in support of its
claims or defenses. Such witnesses and documents should
either be listed in the party's initial disclosures . . . or in a
timely supplemental disclosure . . . ."). Nor [*9] does this
appear to be a case where Defendants unexpectedly learned
Griffin's identity during the latter stages of the discovery
process and then made a prompt effort to disclose her. To the
contrary, Defendants describe Griffin as "a full-time
employee of GFL as Keely's assistant and full-time resident in
Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 5 of 27




                                                           EXHIBIT 2




    EXHIBIT 2
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 6 of 27



                           Raffel Sys., LLC v. Man Wah Holdings Ltd., Inc.
                                 United States District Court for the Eastern District of Wisconsin
                                     November 13, 2020, Decided; November 13, 2020, Filed
                                                      Case No. 18-CV-1765

Reporter
2020 U.S. Dist. LEXIS 212350 *
                                                                   WI; Joseph T Leone, LEAD [*2] ATTORNEY, DeWitt LLP,
                                                                   Madison, WI.
RAFFEL SYSTEMS, LLC, Plaintiff, v. MAN WAH
HOLDINGS LTD., INC., MAN WAH (USA) INC., and XYZ
COMPANIES 1-10, Defendants.
                                                                   Judges: NANCY JOSEPH, United States Magistrate Judge.


Prior History: Raffel Sys., LLC v. Man Wah Holdings Ltd.,
Inc., 2020 U.S. Dist. LEXIS 104321 (E.D. Wis., June 15,
                                                                   Opinion by: NANCY JOSEPH
2020)




Counsel: [*1] For Raffel Systems LLC, Plaintiff: David A           Opinion
Casimir, LEAD ATTORNEY, Tyler J Sisk, Casimir Jones
SC, Middleton, WI; John C Scheller, LEAD ATTORNEY,
Michelle L Dama, Michael Best & Friedrich LLP, Madison,
WI; Joseph T Leone, LEAD ATTORNEY, DeWitt LLP,                     DECISION AND ORDER ON DEFENDANTS'
Madison, WI.                                                       EXPEDITED MOTION TO RECONSIDER FORMAT
                                                                   OF INVENTORSHIP BENCH TRIAL

For Man Wah Holdings LTD Inc, Man Wah (USA) Inc,                   Man Wah sought a hearing under Fed. R. Civ. P. 42(b) to
Defendants: Clark Bakewell, Gary M Hnath, Michael Louis            correct inventorship of the utility patents at issue in this case
Lindinger, Mayer Brown LLP, Washington, DC; Hao Tan,               pursuant to 35 U.S.C. § 256. Man Wah's motion was granted,
Shen Wang, Arch & Lake LLP, Chicago, IL; Jennifer L                and a two-day bench trial on the inventorship issue is
Gregor, Godfrey & Kahn SC, Madison, WI; Matthew M                  scheduled to begin on Monday, November 16, 2020. During a
Wuest, Godfrey & Kahn SC, Milwaukee, WI.                           status conference on September 30, 2020, I instructed the
                                                                   parties to confer on whether they wished to proceed with the
                                                                   bench trial in person or via videoconference due to concerns
For David E Jones, Special Master: David E Jones, LEAD
                                                                   related to the ongoing COVID-19 pandemic. (Docket # 223.)
ATTORNEY, Resolute Systems LLC, Milwaukee, WI.
                                                                   In a letter dated October 9, 2020, the parties informed the
                                                                   Court that they could not agree on whether to hold the bench
For Man Wah (USA) Inc, Man Wah Holdings LTD Inc,                   trial in person or via videoconference. (Docket # 226.) The
Counter Claimants: Clark Bakewell, Gary M Hnath, Michael           parties stated that while Man Wah prefers the inventorship
Louis Lindinger, Mayer Brown LLP, Washington, DC; Hao              hearing be conducted remotely by video, Raffel prefers an in-
Tan, Shen Wang, Arch & Lake LLP, Chicago, IL; Jennifer L           person hearing so that the Court could better consider the
Gregor, Godfrey & Kahn SC, Madison, WI; Matthew M                  credibility of the witnesses. (Id.)
Wuest, Godfrey & Kahn SC, Milwaukee, WI.
                                                                   A final pretrial conference was held on November 9, 2020.
                                                                   Man Wah again expressed its desire to hold the hearing by
For Raffel Systems LLC, Counter Defendant: David A                 video, [*3] citing health concerns for its staff and witnesses
Casimir, LEAD ATTORNEY, Tyler J Sisk, Casimir Jones                due to COVID-19. (Docket # 256.) Raffel argued the hearing
SC, Middleton, WI; John C Scheller, LEAD ATTORNEY,                 should be in person as the credibility of Burwell will be front
Michelle L Dama, Michael Best & Friedrich LLP, Madison,
               Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 7 of 27
                                                                                                                       Page 2 of 3
                                               2020 U.S. Dist. LEXIS 212350, *3

and center, and his credibility can be better assessed in            constituted "good cause and compelling circumstances" under
person. While I offered the parties the option of having a           FRCP 43(a) to permit defense witnesses to testify at a bench
hybrid hearing (i.e., defense presenting its evidence via video      trial via videoconference. Id. at 970. The court acknowledged
while plaintiff presents its evidence in person), Man Wah            that "[c]onducting a trial by videoconference is certainly not
argued it would be prejudiced by this method. Thus, I ordered        the same as conducting a trial where witnesses testify in the
the bench trial to be conducted in person, with one witness          same room as the factfinder . . . [c]ertain features of testimony
appearing remotely.                                                  useful to evaluating credibility and persuasiveness, such as
                                                                     '[t]he immediacy of a living person' can be lost with video
On November 12, 2020, Man Wah filed the current motion,              technology, and the 'ability to observe demeanor, central to
imploring the Court to reconsider its decision regarding the         the fact-finding process, may be lessened[.]'" Id. (internal
format of the inventorship hearing. (Docket # 260.) Man Wah          citations and quotations omitted).
argues subsequent to the final pretrial hearing, on November
10, 2020, Wisconsin Governor Tony Evers announced                    Despite these shortcomings, however, the RFC court
Executive Order No. 94, recommending that all individuals            concluded that advances in technology minimize these
stay at home whenever possible, strongly encouraging                 concerns. Id. "The near-instantaneous transmission of video
businesses to facilitate remote work and other measures to           testimony through current technology permits 'the jury [*6]
limit contact to the greatest extent possible, and to limit travel   [or, in a bench trial, the Court] to see the live witness along
if     possible.     See      Executive      Order      #      94,   with his hesitation, his doubts, his variations of language, his
https://evers.wi.gov/Documents/COVID19/EO094-                        confidence or precipitancy, [and] his calmness or
COVIDRecommendations.pdf. Man Wah further cites to the               consideration[.]'" Id. (internal citation omitted). The court
increasing [*4] problems related to COVID-19 in Wisconsin,           found that "[g]iven the speed and clarity of modern
including hospitals nearing full capacity for treating patients      videoconference technology, where good cause and
and the fact that all but seven Wisconsin counties reflect           compelling circumstances are shown, such testimony 'satisfies
critically high case rates. (Id. at 1-2.) Man Wah reiterates its     the goals of live, in-person testimony and avoids the short-
position, however, that "principles of fairness require that the     comings of deposition testimony.'" Id. at 971. Furthermore,
format be the same for both parties involved—whether by              the Advisory Committee Notes to Rule 43(a) state that the use
Zoom or in person." (Id. at 2.)                                      of "[c]ontemporaneous transmission may be better than an
                                                                     attempt to reschedule the trial[.]"
Raffel objects to Man Wah's motion. (Docket # 261.) Raffel
asserts that Man Wah is "trying to leverage the COVID-19             Upon further reflection, I find that there is good cause and
crisis to garner a litigation advantage" and argues that             compelling circumstances that justify conducting the
Governor Evers' order does not prohibit or prevent the bench         inventorship hearing via videoconference. As the RFC court
proceedings ordered by the Court. (Id. at 1.) Raffel reiterates      found, "the occurrence of COVID-19—and its impact on the
that it would suffer "significant prejudice" if "denied the          health and safety of the parties and witnesses—is undoubtably
opportunity to cross-examine Mr. Burwell in person," given           an 'unexpected' occurrence that nevertheless still permits
the centrality of Burwell's credibility to the case. (Id. at 2.)     witnesses 'to testify from a different place,'" as contemplated
                                                                     by Rule 43(a). Id. at 971. Raffel argues that Governor Evers'
Although Fed. R. Civ. P. 43 generally provides that "[a]t trial,     November 10, 2020 Executive Order does not reflect
the witnesses' testimony must be taken in open court," it also       "dramatically changed circumstances [*7] since Monday"
provides that "[f]or good cause in compelling circumstances          and states that the Order does not prohibit in-person court
and with appropriate safeguards, the court may permit                proceedings. (Docket # 261 at 1.) While it is true that
testimony in open court by contemporaneous transmission              Governor Evers' Executive Order is merely a "strong
from a different location." Fed. R. Civ. P. 43(a). Using the         recommendation," that does not lessen the severity of the
discretion afforded by Rule 43(a), courts have allowed               current situation or the fact that the citizens of Wisconsin are
testimony [*5] to be presented at trial via videoconference          being asked to conduct business online or by phone whenever
where there existed "good cause and compelling                       possible. Indeed, the virus spread in Wisconsin is alarming.
circumstances" to do so. See Argonaut Ins. Co. v. Manetta            Yesterday saw the highest single-day number of positive test
Enterprises, Inc., No. 19CV00482PKCRLM, 2020 U.S. Dist.              results—7,497—and 36.4% of those who were tested have
LEXIS 103625, 2020 WL 3104033, at *1 (E.D.N.Y. June 11,              tested positive. Wisconsin Department of Health Services,
2020) (collecting cases). In In re RFC & ResCap Liquidating          https://www.dhs.wisconsin.gov/covid-19/disease.htm.
Tr. Action, 444 F. Supp. 3d 967 (D. Minn. 2020), the district        Milwaukee       County      has      topped     54,000    cases.
court held that the COVID-19 pandemic and its impact on the          https://www.dhs.wisconsin.gov/covid-
parties' and witnesses' ability to appear in-person in court         19/county.htm#case%20death. Hospitals in the southeast
               Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 8 of 27
                                                                                                      Page 3 of 3
                                               2020 U.S. Dist. LEXIS 212350, *7

region of the state are at 93% capacity; statewide are at 89%        /s/ Nancy Joseph
capacity.      https://www.dhs.wisconsin.gov/covid-19/hosp-
data.htm#capabilities. Specifically, as to the courthouse            NANCY JOSEPH
building, although the court has significantly reduced the
                                                                     United States Magistrate Judge
number of in-person proceedings and encouraged remote
working, there has been an increase in the number of workers
in the building who have tested positive for COVID-19.
                                                                       End of Document
Accordingly, [*8] although the court has taken precautions to
lessen the possibility of transmission (such as plexiglass and
masks), the current state of the community spread in
Wisconsin and the Governor's recommendation counsel in
favor of conducting the hearing via video.

Additionally, that witnesses and attorneys would have to
travel from out of the state for the hearing also favors
proceeding by videoconference. Air travel is not advisable
right now. Center for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-
during-covid19.html.

While I appreciate Raffel's concerns about assessing the
witnesses' credibility, particularly Burwell's, I am confident
that conducting the hearing by video will allow me to
properly hear their testimony, observe their demeanor, and
overall evaluate their credibility. In fact, as I indicated at the
final pretrial hearing, I will be able to get an even closer look
at Burwell's and the other witnesses' faces via
videoconference than I could during an in-person hearing.
Again, this is a bench trial where there is a single fact-finder
as opposed to a jury trial with multiple fact-finders needing to
hear and view the testimony. As the [*9] RFC court aptly
stated: "If this were a jury trial, [ ] concerns about clarity
would perhaps be heightened. However, as this is a bench
trial, [and] the Court is confident it will adequately understand
[the witnesses'] testimony, even through videoconference
technology." 444 F. Supp. 3d at 972. Finally, given the
uncertainty with how long the COVID-19 pandemic will be
interrupting our daily lives and court operations, the use of
"[c]ontemporaneous transmission" for remote testimony is
absolutely preferable over "an attempt to reschedule the
trial[.]" See Fed. R. Civ. P. 43(a) advisory committee's note to
1996 amendment.

For these reasons, Man Wah's motion to reconsider the format
of the trial is granted. The inventorship hearing will be
conducted via Zoom. The Deputy Clerk is ordered to set up
the videoconference for Monday, November 16, 2020 at 9:00
a.m.

Dated at Milwaukee, Wisconsin this 13th day of November,
2020.

BY THE COURT
Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 9 of 27




                                                           EXHIBIT 3




    EXHIBIT 3
             Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 10 of 27



                             In re Terrorist Attacks on September 11, 2001
                                 United States District Court for the Southern District of New York
                                       December 1, 2020, Decided; December 1, 2020, Filed
                                                   03-MDL-01570 (GBD)(SN)

Reporter
2020 U.S. Dist. LEXIS 224721 *
                                                                   Christina Baksh, as Administrator of the Estate of Michael S.
                                                                   Baksh, deceased and on behalf of all survivors of Michale S.
In re: TERRORIST ATTACKS ON SEPTEMBER 11, 2001
                                                                   Baksh, Joanne Barbara, as Executor of the Estate of Gerard
                                                                   Barbara, deceased and on behalf of all survivors of Gerard
                                                                   Barbara, Plaintiffs: Blanca I. Rodriguez, Brian J. Alexander,
                                                                   David Beekman, David Charles Cook, James P. Kreindler,
Prior History: In re Terrorist Attacks on September 11,
                                                                   Lee S. Kreindler, Marc S. Moller, Noah H. Kushlefsky,
2001, 295 F. Supp. 2d 1377, 2003 U.S. Dist. LEXIS 22427
                                                                   Robert James Spragg, Steven R. Pounian, James P. Kreindler,
(J.P.M.L., Dec. 9, 2003)
                                                                   Kreindler & Kreindler, New York, NY.


                                                                   For Nancy Badagliacca, as Administrator of the Estate of
Counsel: [*1] For Kathleen Ashton, as Administrator of the         John J. Badagliacca, deceased and on behalf of all survivors
Estate of Thomas Ashton, deceased and on behalf of all             of John J. Badagliacca, Plaintiff: [*3] Andrew Joseph
survivors of Thomas Ashton, Plaintiff: Andrew Joseph               Maloney, Blanca I. Rodriguez, Brian J. Alexander, David
Maloney, Blanca I. Rodriguez, Brian J. Alexander, David            Beekman, David Charles Cook, Francis Gerard Fleming,
Beekman, David Charles Cook, Francis Gerard Fleming,               James P. Kreindler, Justin Timothy Green, Lee S. Kreindler,
James P. Kreindler, Justin Timothy Green, Lee S. Kreindler,        Marc S. Moller, Milton G. Sincoff, Noah H. Kushlefsky, Paul
Marc S. Moller, Milton G. Sincoff, Noah H. Kushlefsky, Paul        S Edelman, Robert James Spragg, Steven R. Pounian, LEAD
S Edelman, Robert James Spragg, Steven R. Pounian, James           ATTORNEYS, Kreindler & Kreindler, New York, NY.
P. Kreindler, Kreindler & Kreindler, New York, NY; Sean P.
Carter, Cozen O'Connor (Philadelphia), Philadelphia, PA.
                                                                   For Daniel F. Barkow, as Administrator of the Estate of
                                                                   Collen Ann Barkow, deceased and on behalf of all survivors
For Josephine Alger, as Co-Executor of the Estate of David         of Colleen Ann Barkow, Nina Barnes, Personal
D. Alger, deceased and on behalf of all of survivors of David      Representative of the Estate of DURRELL PEARSALL, JR.,
D. Alger, Angelica Allen, as Administrator of the Estate of        Jeannine P. Baron, as Administrator of the Estate of Evan J.
Eric Allen, deceased and on behalf of survivors of Eric Allen,     Baron, deceased and on behalf of all survivors of Evan J.
George Andrucki, as Co-Administrator of the Estate of Jean         Baron, Jane Bartels, as Administrator of the Estate of Carlton
Andrucki, deceased and on behalf of all survivors of Jean          Bartels, deceased and on behalf of all survivors of Carlton
Andrucki, Mary Andrucki, as Co-Administrator of the Estate         Bartels, Kimberly Kaipaka Beaven, as Executor of the Estate
of Jean Andrucki, deceased and on behalf of all survivors of       of Alan Beaven, deceased and on behalf of all survivors of
Jean Andrucki, Alexander Paul Aranyos, as Co-Administrator         Alan Beaven, Michelle Bedigan, as Administrator of the
of the Estate of Patrick Michael Aranyos, deceased and on          Estate of Carl Bedigan, deceased and on behalf of all
behalf of all survivors of Patrick Michael Aranyos [*2]            survivors of Carl Bedigan, Susan Berger, as Administrator of
Andrucki, Winifred Aranyos, as Co-Administrator of the             the Estate of Steven Howard Berger, deceased and on behalf
Estate of Patrick Michael Aranyos, deceased and on behalf of       of all survivors of Steven Howard Berger, Madeline [*4]
all surviors of Patrick Michael Aranyos, Margaret Arce, as         Bergin, as Administrator of the Estate of John Bergin,
Administrator of the Estate of David Gregory Arce, deceased        deceased and on behalf of all survivors of John Bergin,
and on behalf of all survivors of David Gregory Arce, Margit       Miriam M. Biegeleisen, as Administrator of the Estate of,
Arias, ad Administrator of the Estate of Adam Peter Arias,         deceased and on behalf of all survivors of Shimmy D.
deceased and on behalf of all survivors of Adam Peter Arias,       Biegeleisen, Christine Bini, as Administrator of the Estate of
Evelyn Aron, as Executor of the Estate of Jack Charles Aron,       Carl Bini, deceased and on behalf of all survivors of Carl
deceased and on behalf of all survivors of Jack Charles Aron,      Bini, Neil B. Blass, as Administrator of the Estate of Craig M.
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 11 of 27
                                                                                                                   Page 56 of 60
                                                 2020 U.S. Dist. LEXIS 224721, *240

Mohammedi, Law Office of Omar T. Mohammedi, New
York, NY.

                                                                   Judges: SARAH NETBURN, UNITED STATES
For Daniel Corchado, Defendant: Christopher R. LoPalo,
                                                                   MAGISTRATE JUDGE.
LEAD ATTORNEY, Napoli Shkolnik PLLC, Melville, NY.


For Kingdom of Saudi Arabia, Defendant: Michael K.
Kellogg, LEAD ATTORNEY, Kellogg, Hansen, Todd, Figel               Opinion by: SARAH NETBURN
& Frederick PLLC (DC), Washington, DC.


For Saudi High Commission for Relief of Bosnia [*241] &
Herzegovina, Defendant: Lawrence Saul Robbins, LEAD                Opinion
ATTORNEY, Robbins Russell Englert Orseck Untereiner &
Sauber, LLP, Washington, DC; Roy T. Englert, Jr., Robbins,
Russell, Englert, Orseck & Untereiner, L.L.P., Washington,
DC.                                                                OPINION & ORDER

                                                                   SARAH NETBURN, United States Magistrate Judge:
For Lynn Faulkner, Intervenor Defendant, Intervenor: James
F. Peterson, LEAD ATTORNEY, PRO HAC VICE, Judicial                 The global pandemic has affected every corner of society. It
Watch, Inc., Washington, DC; Paul J. Orfanedes, LEAD               comes as no surprise, then, that COVID-19 has impacted this
ATTORNEY, Washington, DC.                                          civil litigation as well.

                                                                   On August 27, 2020, the Court granted in part and denied in
For New York Marine and General Insurance Company, ADR             part the Kingdom of Saudi Arabia's (the "Kingdom" or
Provider: Jerry Stephen Goldman, Anderson Kill P.C. (N.Y.),        "KSA") motion for a protective order and the Plaintiffs'
New York, NY.                                                      Executive Committees' ("Plaintiffs" or "PECs") cross-motion
                                                                   to compel, authorizing certain depositions and directing the
                                                                   KSA and the PECs to provide proposals regarding "the
For General Reinsurance Corporation, General Reinsurance
                                                                   sequencing and logistics of the depositions subject to [the]
AG, Faraday Underwriting Limited on behalf of the
                                                                   Order."1 ECF No. 6408 (the "Deposition Order"). By
underwriting members of Lloyds Syndicate 435, The
                                                                   submissions dated September 22, 2020, and September 25,
Underwriting Members of Lloyds Syndicate 1861, National
                                                                   2020, the KSA and PECs provided separate proposals and
Indemnity Company, Columbia Insurance Company,
                                                                   responsive letters for the Court's consideration. See ECF Nos.
Interested Partys: Scott S. Katz, LEAD ATTORNEY, PRO
                                                                   6465, 6466, 6469, 6470.
HAC VICE, Butler Pappas Weihmuller Katz Craig, LLP,
Tampa, FL.                                                         In light of the global pandemic, and in [*243] particular the
                                                                   surge of cases in the United States and international travel
For Plaintiffs Executive Committees, All Plaintiffs: Jerry         restrictions, the Court directs that depositions be conducted by
Stephen Goldman, Anderson Kill P.C. (N.Y.), New York,              remote means. See Fed. R. Civ. P. 30(b)(4).
NY; Robert Turner Haefele, Motley Rice LLC (SC), Mount
Pleasant, SC; Sean P. Carter, Cozen O'Connor (Philadelphia),
Philadelphia, PA.                                                  BACKGROUND

                                                                   Following the Court's Deposition Order, the Kingdom
All Plaintiffs, All Plaintiffs, Pro [*242] se.                     informed the Plaintiffs that 16 current and former Saudi
                                                                   government employees would sit for deposition; certain other
                                                                   individuals have refused to voluntarily testify, and a few other
For Federal Insurance Company et al., Plaintiffs, ThirdParty
                                                                   individuals remain unidentified. See KSA Ltr., dated Sept. 22,
Defendant, Cross Defendant: Carter G. Phillips, PRO HAC
VICE, Sidley Austin LLP, Washington, DC; Richard D.
Klingler, PRO HAC VICE, Sidley Austin LLP(Washington),             1 Plaintiffs'
                                                                             motion for reconsideration of portions of the Deposition
Washington, DC.                                                    Order remains pending.
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 12 of 27
                                                                                                                   Page 57 of 60
                                            2020 U.S. Dist. LEXIS 224721, *243

2020, at ECF 6465. Following a meet-and-confer, the parties        sovereign nation to travel to the United States to be deposed.
have agreed in principle to a sequencing of witnesses based
on certain categories. Accordingly, the primary dispute            The Supreme Court has "long recognized the demands of
concerns how and where depositions shall be conducted.             comity in suits involving foreign states, either as parties or as
                                                                   sovereigns with a coordinate interest in the litigation." Societe
The Plaintiffs propose that depositions be conducted in person     Nationale Industrielle Aerospatiale v. U.S. Dist. Court for S.
in the United States. Based on consultations with an expert in     Dist. of Iowa, 482 U.S. 522, 546, 107 S. Ct. 2542, 96 L. Ed.
infectious disease, pandemic preparedness, and biosecurity,        2d 461 (1987) (citing Hilton v. Guyot, 159 U.S. 113, 16 S. Ct.
the Plaintiffs contend that in-person depositions are "entirely    139, 40 L. Ed. 95 (1895)). Accordingly, American courts are
feasible and can be conducted with minimal risk." PEC Ltr.,        advised to "take care to demonstrate due respect for any
dated Sept. 22, 2020, at ECF 6466. Specifically, Plaintiffs        special problem confronted by the foreign litigant on account
propose that the depositions be held in New York City (one of      of its nationality or the location of its operations, and for any
the Court's previously authorized Presumptively Acceptable         sovereign interest expressed by a foreign state." Id.
Locations), [*244] Washington, D.C., or a warm-weather
state like Arizona, where depositions could be held outdoors.      Plaintiffs intend to depose 14 current and former Saudi
These depositions would be held "at a large venue," where "at      government employees, at least four of whom hold or have
least 25 participants" could participate under safety guidelines   held the title of minister or ambassador, who reside outside
including social distancing. "Most participants" would wear        the U.S. On the basis of comity and out of the special
masks and be separated by plexiglass. The Plaintiffs make          solicitude owed regarding discovery under these
only passing reference to "duties imposed on visitors," such as    circumstances, the Court will not require these current or
quarantine requirements.                                           former [*246] government employees who reside outside the
                                                                   U.S. to travel to be deposed. The Court has previously
The Kingdom opposes in-person depositions conducted in the         authorized Saudi Arabia to apply to conduct the depositions
United States. It argues that remote depositions are authorized    of current high-ranking officials who serve at the apex of a
by the Federal Rules, have been successfully conducted in this     government agency at a different location, see ECF No. 3894,
case, and are the new normal for pandemic-era litigation.          at P 31, and finds that, especially given the global COVID-19
Fourteen of the witnesses live abroad, with the majority living    pandemic, it is not appropriate to order any current and
in Saudi Arabia. All will face travel restrictions and/or          former government employees to travel outside Saudi Arabia
quarantine periods. Many witnesses are current high-level          or to the United States.
government employees who cannot afford weeks of
quarantining to accommodate a single deposition. Some
witnesses are in high-risk categories due to age or health         B. Remote Depositions are Safe, Effective and Efficient
concerns.
                                                                   Rule 30(b)(4) provides that "[t]he parties may stipulate—or
                                                                   the court may on motion order—that a deposition be taken by
DISCUSSION                                                         telephone or other remote means." Fed. R. Civ. P. 30(b)(4).
                                                                   "'Since Rule 30(b)(4) does not specify the standards to be
The Court has reviewed the parties' submissions and orders         considered in determining whether to grant a request [for a
that depositions proceed by remote means. Below, the Court         remote] deposition . . . the decision to grant or deny such an
briefly addresses the parties' arguments.                          application is left to the discretion of the Court, which must
                                                                   balance claims of prejudice and those of hardship . . . and
                                                                   conduct a careful weighing of the relevant facts.'" Rouviere v.
I. Remote [*245] Depositions                                       DePuy Orthopaedics, Inc., No. 18-CV-04814 (LJL)(SDA),
                                                                   2020 U.S. Dist. LEXIS 122184, 2020 WL 3967665, at *2
                                                                   (S.D.N.Y. July 11, 2020) (quoting RP Family, Inc. v.
                                                                   Commonwealth Land Title Ins. Co., No. 10-CV-01149 (DLI)
A. Saudi Arabia's Legitimate Sovereign Interests                   (CLP), 2011 U.S. Dist. LEXIS 137334, 2011 WL 6020154, at
                                                                   *3 (E.D.N.Y. Nov. 30, 2011) (citations & internal quotation
Pre-pandemic, the Court addressed how and where the                marks omitted)); [*247] see also 2 Civil Practice in the
depositions of Saudi witnesses would be conducted. See ECF         Southern District of New York § 17:3 (2d ed. 2020) ("While
No. 6204. In light of the serious health risks posed by            Rule 30(b)(4) does not specify the standard for evaluating
COVID-19, the Court must weigh more heavily the comity             motions to have depositions conducted remotely, courts
concerns when considering whether to order an employee of a        generally consider the hardship on the party to be deposed,
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 13 of 27
                                                                                                                 Page 58 of 60
                                             2020 U.S. Dist. LEXIS 224721, *247

and the prejudice to the party seeking the deposition.").         (S.D.N.Y. Aug. 25, 2015); see also Tangtiwatanapaibul v.
                                                                  Tom & Toon Inc., No. 17-CV-00816 (LGS)(KHP), 2017 WL
Since the beginning of the pandemic, courts have considered       10456190, at *3 (S.D.N.Y. Nov. 22, 2017); DiRienzo v.
the serious health risk posed by the coronavirus and              Philip Servs. Corp., 294 F.3d 21, 30 (2d Cir. 2002)
concluded that remote depositions do not cause undue              ("videotaped depositions . . . could afford the jury an
hardship and can be conducted with relative ease given            opportunity to assess the credibility of [foreign] witnesses" in
current technology. See, e.g., Joffe v. King & Spalding LLP,      fraud case).
No. 17-CV-3392 (VEC), 2020 U.S. Dist. LEXIS 111188,
2020 WL 3453452, at *2, n.7 (S.D.N.Y. June 24, 2020)              Moreover, Plaintiffs' alternative proposal would not
(requiring party to take depositions remotely over its            meaningfully improve the ability to assess witness credibility.
objection and noting that "[c]ourts in this circuit have been     Plaintiffs propose that in-person depositions be conducted at a
cognizant of the risks of in-person testimony and have            "large venue," potentially outside, where people are wearing
encouraged remote depositions as a matter of course.").           masks, separated by plexiglass, and socially distant. Such
Indeed, judges in this District are conducting trials by remote   protocols would significantly diminish any value to in-person
technology. See, e.g., Amtrust N. Am., Inc. v. KF&B, Inc.,        depositions.
2020 U.S. Dist. LEXIS 137590, 2020 WL 4365280, at *1
(S.D.N.Y. July 29, 2020) ("[T]he current COVID-19                 Finally, although the lawyers might gain some marginal value
pandemic constitutes compelling circumstances and provides        by observing the witness in person, ultimately the purpose of
good cause to allow this trial to be conducted remotely           a deposition is to gather information and commit a witness's
through the use of telephonic and video conferencing              testimony. The product of the deposition is the transcript and
solutions.").                                                     video footage, which will be unaffected whether the
                                                                  deposition is conducted remotely or in person. Thus, because
Plaintiffs raise several objections to proceeding by remote       neither the Court nor the jury would be present at the
means. These objections do not overcome the substantial           deposition, any argument that the witness [*250] is being
weight [*248] the Court assigns to the health risk implicated     intentionally evasive will have to rely on the record regardless
to lawyers, witnesses, deposition staff, and all of their         of whether the lawyers were in the room where it happened.
families, by ordering people to travel and gather.

                                                                  2. The Need to Prevent Witness Tampering
1. The Need to Assess the Witness's Demeanor
                                                                  Plaintiffs next argue that during the depositions, counsel to
First, Plaintiffs argue that because "the witnesses to be         KSA will attempt to "obstruct" questioning by consulting
deposed are implicated in an extraordinary criminal               privately with witnesses and that the parties will likely make
investigation," they have a compelling incentive "to evade,       applications to the Court regarding objections. These
dissemble, and lie, all the more so given that they reside in     scenarios—which remain hypothetical—plausibly arise
Saudi Arabia and have no concerns about exposure to a mere        during all remote depositions. And yet remote depositions are
U.S. perjury or obstruction charge." ECF No. 6470 at 2. This,     presumptively valid under the Federal Rules. Plaintiffs have
Plaintiffs argue, requires that "the depositions to go forward    not specifically demonstrated that KSA's counsel's obstruction
outside of Saudi Arabia and that Plaintiffs' counsel be in the    is so likely or would be so disruptive as to overcome the
room with the witnesses during their testimony to properly        presumptive validity of remote depositions and require in-
gauge the responses and see the actual circumstances under        person depositions despite the significant comity and health
which the testimony is being given." Id. at 2-3.                  considerations. See Tom & Toon Inc., 2017 WL 10456190, at
                                                                  *3 (finding that the fact of a deposition by videoconference
Plaintiffs' argument assumes a position not shared by the         does not necessarily make it more likely that a witness will be
Court. There is no evidence that the Saudi witnesses will lie     coached). The parties have already conducted remote
under oath. And any ruling that assumes that they will would      depositions and there have been no allegations of witness
require the Court to assume also that Saudi Arabia's American     tampering or improper coaching. The Court assumes that the
lawyers are similarly engaging in such misconduct. But, even      parties will work together to accommodate one another's
accepting the Plaintiffs' proposition for the moment,             reasonable [*251]     requests in designing a remote
Plaintiffs [*249] have not demonstrated how in-person             videoconferencing setup to ensure transparency and
depositions will solve those problems. Deposition by video        professionalism. Counsel for all parties are reminded that
allows the party "to view [the witness's] demeanor during         attorneys are subject to discipline if they are found in
questioning." Usov v. Lazar, No. 13-CV-818 (RWS), 2015            violation of the New York State Rules of Professional
U.S. Dist. LEXIS 113100, 2015 WL 5052497, at *2
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 14 of 27
                                                                                                                      Page 59 of 60
                                            2020 U.S. Dist. LEXIS 224721, *251

Conduct concerning activities connected to this action, which      previous video depositions in this litigation as a reason for the
would include, for example, improper behavior during               Court to compel in-person depositions. These issues include
depositions. See Local Civil Rule 1.5(b)(5).                       "dramatic time zone differences, technical issues with the
                                                                   internet and real time connections . . .." ECF No. 6470 at 4.
                                                                   As with most of Plaintiffs' arguments for holding the
3. The Need to Maintain Confidentiality of Certain                 depositions in-person, the case would be different if all else
Documents                                                          were equal and the world were not in the throes of a global
                                                                   pandemic. But, as another court in this District has observed,
Third, Plaintiffs argue that the use of documents subject to the   "pandemic circumstances render all other things not equal,
FBI Protective Order necessitates in-person depositions. To        and many cases are proceeding through discovery despite
the extent this issue is raised on account of the remote nature    these conditions, aided by the ability to conduct remote
of the proceedings, Plaintiffs' use of documents subject to the    depositions through video conferencing." Joffe, 2020 U.S.
FBI Protective Order during a remote conference before the         Dist. LEXIS 111188, 2020 WL 3453452, at *2 (emphasis
Court undermines Plaintiffs' argument. Plaintiffs also state       added). In particular, the Court does not find that the
that KSA's use of local counsel would be irreconcilable with       occasional technical difficulty that can occur with
the use of documents subject to the FBI Protective Order. The      videoconferencing software—and which can be addressed by
parties should ensure that the format of the deposition allows     the Court and parties if and when it occurs—is a sufficient
the parties to comply with the FBI Protective Order and            reason not to use videoconferencing for depositions. There are
should make use of the security features of the available          also potential solutions to the problem of time-zone issues—
videoconferencing technology.                                      for example, "holding the deposition in two- to four-
                                                                   hour [*254] blocks." Sec. & Exch. Comm'n v. Aly, 320
                                                                   F.R.D. 116, 120 (S.D.N.Y. 2017).
4. The Need for Plaintiffs' Counsel to Conference
                                                                   In sum, Plaintiffs have not demonstrated how, on balance,
Plaintiffs [*252] argue that all counsel for the PECs must be      potential issues posed by remote depositions outweigh the
together in the same room in order to conduct the depositions      burden of requiring high-ranking and former Saudi
effectively. It is hard to understand how being in the same        government officials to travel and potentially quarantine
room, while socially distanced and wearing masks, is better        abroad in the midst of a global pandemic.2
than using email, texts or separate phone lines when lawyers
want to pass information or suggest questions for the witness.
But lawyers are free to assemble in person on their own terms      II. Scheduling
to coordinate their participation in the remote proceedings. To
the extent counsel desire to be in the same room, they will
need to comply with any existing limit on the number of            2 As  of November 18, 2020, all four Presumptively Acceptable
people who may gather indoors.                                     Locations for depositions would or could require witnesses and
                                                                   counsel to meet COVID testing requirements and/or quarantine upon
                                                                   arrival and some do not allow visitors from the U.S. See
5. The Need to Engage Translation Services                         https://it.usembassy.gov/covid-19-information/ (travelers to Italy
                                                                   from          the        USA          are        not      permitted);
Fifth, Plaintiffs argue that the necessary translation services    http://www.salute.gov.it/portale/nuovocoronavirus/dettaglioContenut
require in-person depositions. The "need" for Plaintiffs' and      iNuovoCoronavirus.jsp?lingua=italiano&id=5412&area=nuovoCoro
KSA's translators to "consult during the depositions with each     navirus&menu=vuoto&tab=6 (travelers to Italy from Saudi Arabia
other and counsel" does not require the translators or counsel     are subject to 14 day quarantine and health surveillance);
to be physically present in the same room. To the extent           https://www.gov.uk/uk-border-control/self-isolating-when-you-
                                                                   arrive (travelers to the UK from the U.S. and Saudi Arabia must self-
remote interpreting services cause delays, the Court has
                                                                   isolate for 14 days upon arrival); https://es.usembassy.gov/covid-19-
already authorized extra time to complete depositions where
                                                                   information/ (travelers to Spain from U.S. generally prohibited, and
interpreters are used, ECF No. 6204 at 2, and finds this           other travelers subject to testing requirements). On September 28,
allowance sufficient to cover remote circumstances as [*253]       2020, New York Governor Andrew M. Cuomo signed an executive
well.                                                              order maintaining the mandatory quarantine for anyone arriving to
                                                                   New York from any "Level 2" or "Level 3" country (including Saudi
                                                                   Arabia), separate from the National Center for Disease Control's
6. Technical Difficulties                                          guidance regarding incoming foreign travelers. See Executive Order
                                                                   # 205.1, available at https://www.governor.ny.gov/news/no-2051-
Finally, Plaintiffs cite issues that have allegedly arisen in      quarantine-restrictions-travelers-arriving-new-york.
              Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 15 of 27
                                                                                                       Page 60 of 60
                                               2020 U.S. Dist. LEXIS 224721, *254

The Kingdom believes that depositions can be completed in             /s/ Sarah Netburn
approximately 90 days. Plaintiffs believe they need "at least"
45 days to prepare for the first round of depositions, and that       SARAH NETBURN
they will require at least 100 days of deposition testimony.
                                                                      UNITED STATES MAGISTRATE JUDGE
Plaintiffs propose that any deadline to complete all
depositions be set after the second round of depositions is           DATED: December 1, 2020
completed, at some indeterminate time. In the alternative,
Plaintiffs suggest that depositions should be held in abeyance        New York, New York
until the pandemic is over and the parties can safely conduct
in-person depositions.
                                                                        End of Document
The Court recognizes the importance of these depositions but
further delay is no longer appropriate. Accordingly, the
parties must complete all depositions by June 30, 2021.3 This
deadline will not be adjourned. To the extent the public health
situation changes, Plaintiffs may timely seek leave to travel
abroad to conduct depositions safely [*255] in the witness's
country of residence. But the Court will not extend or stay this
deadline in response to such application.


III. Proposed Topics and Objections

Finally, KSA requests the Court enter a schedule for the KSA
and Plaintiffs to submit, in advance of the depositions, topics
of examination and objections, respectively, to address
preemptively likely disputes. Plaintiffs oppose this proposal,
arguing that such an order would amount to a requirement that
Plaintiffs disclose privileged work product. The Court
declines to rule in advance on deposition topics. Regarding
the scope of permissible questioning, the parties should take
guidance from the Court's Deposition Order. Plaintiffs shall
advise the Court, by email to chambers with copy to
Defendants, when the depositions are scheduled so that, if
possible, the Court can make itself available should any
applications arise during a deposition.


CONCLUSION

All fact depositions shall be completed by June 30, 2021. The
depositions shall be conducted remotely by reliable
videoconferencing method. The Court will not extend the fact
witness deposition deadline. KSA's request for the Court to
require pre-deposition submissions on the topics [*256] for
the depositions is denied.

SO ORDERED.




3 The Court takes judicial notice that Ramadan begins on or around
April 12, 2021, through May 11, 2021. The parties should take steps
now to avoid any conflict with that holiday.
Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 16 of 27




                                                           EXHIBIT 4




    EXHIBIT 4
    Case
     Case1:18-cv-02185-LJL
           1:19-cr-00561-LAPDocument
                              Document
                                     317-1
                                       201 Filed
                                           Filed 01/07/21
                                                 11/05/20 Page
                                                          Page 17
                                                               1 ofof327



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

       -against-                                 19-CR-561 (LAP)
                                                 11-CV-691 (LAK)
STEVEN DONZIGER,
                                                      ORDER
                 Defendant.


LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    By order dated October 28, 2020, the Court directed Mr.

Donziger to propose procedures for taking remote trial testimony

of defense witnesses.     (Dkt. no. 196.)      Mr. Donziger has filed

his proposals, and the Government has responded.           (Dkt. nos.

197, 198.)   Having considered the parties’ proposals, the Court

approves the following procedures for remote testimony of

defense witnesses:

    (1)   The defense shall identify for the Court each witness
          and the specific location from which the named witness
          will be testifying at least 48 hours before the
          testimony.

    (2)   To the extent the defense intends to introduce any
          exhibits during the direct examination, the defense
          shall identify and provide copies of those exhibits to
          be used during that examination to the Court and the
          special prosecutors at least 24 hours before the
          witness’s testimony. The defense will arrange for a
          copy of those exhibits to be available at the location
          where the witness is testifying.

    (3)   Insofar as any witness requires an interpreter, a
          court-certified interpreter will provide the
          translation from the courtroom at 500 Pearl Street.
          Thus, to ensure such services will be available, the
          defense must provide notification of the need for an
          interpreter and the language at issue by November 9.

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Case
 Case1:18-cv-02185-LJL
       1:19-cr-00561-LAPDocument
                          Document
                                 317-1
                                   201 Filed
                                       Filed 01/07/21
                                             11/05/20 Page
                                                      Page 18
                                                           2 ofof327



(4)   The witness may not consult with anyone other than the
      Court, the attorney conducting the examination, and,
      if applicable, the court-certified interpreter while
      he or she is testifying. This rule does not apply to
      consultation during breaks in testimony.

(5)   Other than the transcription by the official court
      reporter, the testimony and court proceedings may not
      be recorded, live-streamed, or otherwise broadcast.
      Photographs of the testimony are also prohibited.

(6)   The defense will use the S.D.N.Y. videoconference
      platform “Jabber” for the witness’s remote testimony
      and must successfully test that platform at least 72
      hours before the testimony. To the extent there is an
      issue with that platform, the defense will immediately
      advise the Court. If the defense wants to use another
      videoconference platform for a witness’s remote
      testimony, the defense must make an application no
      later than November 9, 2020.

(7)   The oath will be administered by the Court’s courtroom
      deputy.

(8)   Witnesses providing remote testimony shall be
      instructed to follow the following guidelines:

      a. To the extent possible, please choose a location
         that can provide you with the best and most
         consistent internet access.

      b. To the extent possible, please choose a location
         that can provide you quiet and solicitude so that
         you will not be interrupted or distracted while
         testifying.

      c. To the extent possible, choose a location where you
         can be alone. While you are testifying, you may not
         consult or communicate with anyone other than the
         Judge, the attorney conducting the examination, and,
         if applicable, the court-certified language
         interpreter.

      d. Even though you are not in a courtroom, you shall
         testify as if you were in court. You will take an
         oath to tell the truth, your testimony will be
         recorded and will become part of the official court
         record for this case. Mr. Donziger or his counsel


                                 2
    Case
     Case1:18-cv-02185-LJL
           1:19-cr-00561-LAPDocument
                              Document
                                     317-1
                                       201 Filed
                                           Filed 01/07/21
                                                 11/05/20 Page
                                                          Page 19
                                                               3 ofof327



              will ask you questions, and the prosecutors may or
              may not ask you questions.

          e. Your testimony and the court proceedings may not be
             recorded, live-streamed, or otherwise broadcast.
             Photographs of the testimony are also prohibited.

          f. Once you are finished testifying, the Judge will
             thank you and you will be free to disconnect and
             your “court session” will be complete.


SO ORDERED.

Dated:   November 5, 2020
         New York, New York




                                         ___________________________
                                         LORETTA A. PRESKA, U.S.D.J.




                                     3
Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 20 of 27




                                                           EXHIBIT 5




    EXHIBIT 5
             Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 21 of 27



                                       1:20cv3370, Augello V. Ramskyte
                                                   US District Court Docket
                                     US District Court for the Eastern District of New York
                                                          (Brooklyn)
                                            This case was retrieved on 07/27/2020




Header


Case Number: 1:20cv3370                                                                                    Class Code: Closed
Date Filed: 07/27/2020                                                                                     Closed: 12/04/2020
Assigned To: Judge Ann M Donnelly                                                                             Statute: 28:1331
Referred To: Magistrate Judge Sanket J. Bulsara                                                           Jury Demand: None
Nature of Suit: Other Statutory Actions (890)                                                            Demand Amount: $0
Cause: Fed. Question                                                                   NOS Description: Other Statutory Actions
Lead Docket: None
Other Docket: None
Jurisdiction: Federal Question




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Kristina Ramskyte                                                Michael S. Pascazi
Respondent                                                       LEAD ATTORNEY;ATTORNEY TO BE NOTICED
        Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 22 of 27
                                                                                                                 Page 2 of 7
                                    1:20cv3370, Augello V. Ramskyte

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Proceedings

#     Date         Proceeding Text                                                               Source
1     07/27/2020   COMPLAINT for Return of Child to Italy Pursuant to Hague
                   Convention against Kristina Ramskyte filing fee $ 400, receipt number
                   BNYEDC-13121191 Was the Disclosure Statement on Civil Cover Sheet
                   completed -YES,, filed by Dario Augello. (Attachments: # 1 Exhibit
                   Hague Convention Treaty, # 2 Exhibit ICARA, # 3 Exhibit Certificate of
                   Residence, # 4 Exhibit Custody Decision, # 5 Exhibit Appeal Decision, #
                   6 Exhibit School Attendance, # 7 Exhibit Emails) (Min, Richard)
                   (Entered: 07/27/2020)
2     07/27/2020   MOTION to Expedite Proceedings for Return of Child to Italy pursuant
                   to Hague Convention by Dario Augello. (Attachments: # 1 Memorandum
                   in Support Memorandum of Law, # 2 Civil Cover Sheet Civil Cover
                   Sheet, # 3 Proposed Summons Summons) (Min, Richard) (Entered:
                   07/27/2020)
--    07/27/2020   Case Assigned to Judge Ann M Donnelly and Magistrate Judge Sanket J.          Events since last full update
                   Bulsara. Please download and review the Individual Practices of the
                   assigned Judges, located on our website. Attorneys are responsible for
                   providing courtesy copies to judges where their Individual Practices
                   require such. (Bowens, Priscilla) (Entered: 07/28/2020)
3     07/27/2020   Summons Issued as to Kristina Ramskyte. (Bowens, Priscilla) (Entered:         Events since last full update
                   07/28/2020)
4     07/28/2020   In accordance with Rule 73 of the Federal Rules of Civil Procedure and        Events since last full update
                   Local Rule 73.1, the parties are notified that if all parties consent a
                   United States magistrate judge of this court is available to conduct all
                   proceedings in this civil action including a (jury or nonjury) trial and to
                   order the entry of a final judgment. Attached to the Notice is a blank
                   copy of the consent form that should be filled out, signed and filed
                   electronically only if all parties wish to consent. The form may also be
                   accessed at the following link:
                   http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf.
                   You may withhold your consent without adverse substantive
                   consequences. Do NOT return or file the consent unless all parties have
                   signed the consent. (Bowens, Priscilla) (Entered: 07/28/2020)
5     07/28/2020   This attorney case opening filing has been checked for quality control.       Events since last full update
                   See the attachment for corrections that were made, if any. (Bowens,
                   Priscilla) (Entered: 07/28/2020)
--    08/04/2020   ORDER TO SHOW CAUSE: The respondent is directed to show cause                 Events since last full update
                   before this Court via telephone conference line (888) 363-4734, access
                   code 9057625, on August 13, 2020 at 2:30 p.m., as to why an order
                   should not be entered granting the petitioner the relief requested in the
                   petition. The petitioner is directed to serve the respondent with the
                   petition and accompanying exhibits, the motion to expedite proceedings
                   and accompanying exhibits, and this order on or before August 7, 2020.
                   The petitioner must file a return proof of service within 24 hours of
       Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 23 of 27
                                                                                                               Page 3 of 7
                                   1:20cv3370, Augello V. Ramskyte

#    Date         Proceeding Text                                                              Source
                  service. Ordered by Judge Ann M. Donnelly on 8/4/2020. (Singer, Julie)
                  (Entered: 08/04/2020)
6    08/08/2020   AFFIDAVIT of Service for Order to Show Cause, Petition and                   Events since last full update
                  Supporting Documents served on Kristina Ramskyte on August 7, 2020,
                  filed by Dario Augello. (Min, Richard) (Entered: 08/08/2020)
7    08/08/2020   AFFIDAVIT of Service for Order to Show Cause, Petition and                   Events since last full update
                  Supporting Documents served on Kristina Ramskyte on August 7, 2020,
                  filed by Dario Augello. (Min, Richard) (Entered: 08/08/2020)
8    08/11/2020   NOTICE of Appearance by Nancy M. Green on behalf of Dario Augello            Events since last full update
                  (aty to be noticed) (Green, Nancy) (Entered: 08/11/2020)
9    08/12/2020   NOTICE of Appearance by Michael S. Pascazi on behalf of Kristina             Events since last full update
                  Ramskyte (aty to be noticed) (Pascazi, Michael) (Entered: 08/12/2020)
--   08/13/2020   Minute Entry for proceedings held before Judge Ann M. Donnelly: Show         Events since last full update
                  Cause Hearing held on 8/13/2020. Appearances by Richard Min and
                  Nancy Green for petitioner and Michael Pascazi for respondent (present).
                  Case called. Discussion held. For the reasons stated on the record, the
                  respondent is prohibited from relocating the child pending a resolution of
                  this action. The respondent's opposition to the petition 1 is due on or
                  before August 20, 2020. The petitioner's reply is due on or before August
                  27, 2020. Next conference set for September 10, 2020 at 10:30 a.m. via
                  telephone conference (line (888) 363-4734, access code 9057625).
                  (Court Reporter Linda Marino.) (Eisen, Allison) (Entered: 08/13/2020)
10   08/13/2020   Letter regarding passport and venue by Dario Augello (Min, Richard)          Events since last full update
                  (Entered: 08/13/2020)
12   08/20/2020   NOTICE of Appearance by Michael Banuchis on behalf of Dario                  Events since last full update
                  Augello (aty to be noticed) (Banuchis, Michael) (Entered: 08/20/2020)
13   08/20/2020   VERIFIED ANSWER to 1 Complaint, a/k/a Verified Petition by Kristina          Events since last full update
                  Ramskyte. (Attachments: # 1 Exhibit Ex H Private Agreements, # 2
                  Exhibit Ex I Pending Rome Custody Modification Application, # 3
                  Exhibit Ex J Domestic Violence Reports, # 4 Exhibit Ex K Letter from
                  GA to Petitioner, # 5 Exhibit Ex L Invitations for Petitioner to Come to
                  USA, # 6 Exhibit Ex M Emails re Lack of Hygiene of GA) (Pascazi,
                  Michael) (Entered: 08/20/2020)
14   08/27/2020   REPLY in Support re 13 Answer to Complaint, 1 Complaint, filed by            Events since last full update
                  Dario Augello. (Attachments: # 1 Exhibit Ex A - Dismissal of
                  Complaint, # 2 Exhibit Ex B - Photos) (Min, Richard) (Entered:
                  08/27/2020)
15   09/09/2020   AMENDED ANSWER to the Petition Pursuant to the Hague Covention               Events since last full update
                  1 Complaint, by Kristina Ramskyte. (Attachments: # 1 Exhibit Ex H
                  Private Agreements, # 2 Exhibit Ex I Pending Rome Custody
                  Modification Application, # 3 Exhibit Ex J Domestic Violence Reports,
                  # 4 Exhibit Ex K Letter from GA to Petitioner, # 5 Exhibit Ex L
                  Invitations for Petitioner to Come to USA, # 6 Exhibit Ex M Emails re
                  Lack of Hygiene of GA, # 7 Exhibit Ex N CV of Alan Tepp Ph.D., # 8
                  Exhibit Ex O Declaration of Clinical &amp; Forensic Psychology Expert
                  Alan Tepp Ph.D.) (Pascazi, Michael) (Entered: 09/09/2020)
--   09/10/2020   Minute Entry for proceedings held before Judge Ann M. Donnelly:              Events since last full update
                  Status Conference held on 9/10/2020. Appearances by Richard Min,
                  Michael Banuchis and Nancy Green for petitioner and Michael Pascazi
                  for respondent (present). Case called. Discussion held. The parties are
                  directed to schedule a conference with Judge Bulsara to discuss
                  discovery and possible settlement. Next conference set for October 15,
                  2020 at 4:30 p.m. via telephone conference (line (888) 363-4734, access
                  code 9057625). (Court Reporter Lisa Schmid.) (Eisen, Allison) (Entered:
                  09/10/2020)
--   09/11/2020   SCHEDULING ORDER: A settlement conference will be held via                   Events since last full update
                  videoconference on 10/5/2020 at 10:30 AM before Magistrate Judge
                  Sanket J. Bulsara. Parties are to submit their respective ex parte
                  settlement positions via Chambers email no later than three days before
       Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 24 of 27
                                                                                                                 Page 4 of 7
                                    1:20cv3370, Augello V. Ramskyte

#    Date         Proceeding Text                                                                Source
                  10/5/2020. Counsel are to refer to the Settlement Section of this Court's
                  Individual Rules in preparation for the conference, which is available on
                  the Court's website. Counsel must also provide email addresses and
                  phone numbers for counsel and a client representative to the Court so
                  that the Court may connect the parties to a video conference. So Ordered
                  by Magistrate Judge Sanket J. Bulsara on 9/11/2020. (Farrell, Gillian)
                  (Entered: 09/11/2020)
--   10/05/2020   Minute Entry: A settlement conference was held by video on 10/5/2020           Events since last full update
                  before Magistrate Judge Sanket J. Bulsara. Both parties and their counsel
                  were present. A settlement was not reached. So Ordered by Magistrate
                  Judge Sanket J. Bulsara on 10/5/2020. (Log #10:30 AM - 12:04 PM.)
                  (Altreuter, Sylvia) (Entered: 10/05/2020)
--   10/15/2020   SCHEDULING ORDER: A telephonic status conference will be held on               Events since last full update
                  10/21/2020 at 2:00 PM before Magistrate Judge Sanket J. Bulsara. The
                  parties are directed to call the toll-free number 877-336-1274. The access
                  code is 6534420. The parties shall dial in five (5) minutes before the 2:00
                  PM conference. The parties are directed to provide a proposed discovery
                  schedule for discussion at the conference, and to electronically file the
                  same no later than one day prior to the status conference. So Ordered by
                  Magistrate Judge Sanket J. Bulsara on 10/15/2020. (Farrell, Gillian)
                  (Entered: 10/15/2020)
--   10/15/2020   Minute Entry for proceedings held before Judge Ann M. Donnelly:                Events since last full update
                  Status Conference held on 10/15/2020. Case called; discussions held.
                  Appearances by Michael Banuchis, Nancy Green, and Richard Min for
                  the petitioner. Michael Pascazi for the respondent. The parties are to
                  meet and confer regarding case management, including facts or issues
                  that may be the subject of stipulation and the exchange of relevant
                  documents. Judge Bulsara will schedule a conference to address
                  discovery issues. By November 9, 2020, the parties are to file a statement
                  of stipulated facts, a list of witnesses with a brief narrative statement of
                  the expected testimony of each witness, and a list of exhibits to be
                  offered into evidence, including a one-sentence description of each
                  exhibit and the basis for any objections to the admissibility of any
                  exhibits. By November 16, 2020, the parties are to file proposed findings
                  of fact and conclusions of law, and all exhibits must be pre-marked for
                  the trial and exchanged with the other parties. By November 16, 2020,
                  the parties must file any motions in limine. By November 30, 2020, the
                  parties are to deliver 3 courtesy copies of all pre-marked trial exhibits.
                  The parties are directed to the Court's Individual Practices and Rules
                  regarding pre-trial filings. Each party is responsible for arranging, at its
                  own expense, the assistance of a court-certified interpreter for any
                  witness it will present who cannot testify in English. A final pre-trial
                  conference is set for Wednesday, December 2, 2020 at 2:30 p.m. in
                  Courtroom 4G-North. Trial is scheduled to begin on December 7, 2020.
                  (Court Reporter Denise Parisi.) (Eisen, Allison) (Entered: 10/15/2020)
16   10/20/2020   Letter regarding Discovery Schedule by Dario Augello (Banuchis,                Events since last full update
                  Michael) (Entered: 10/20/2020)
--   10/21/2020   Minute Entry and Order: A status conference was held on 10/21/2020 by          Events since last full update
                  telephone before Magistrate Judge Sanket J. Bulsara. As stated on the
                  record, each side is permitted to serve five document requests by
                  10/23/2020. The parties shall agree on mutually convenient dates for
                  responses and objections and productions. Interrogatories and requests
                  for admission are not permitted. Expert reports shall by exchanged by
                  11/6/2020, and any rebuttal expert reports shall be exchanged by
                  11/13/2020. Each side will be permitted to take up to three depositions,
                  which shall be completed by 11/20/2020. So Ordered by Magistrate
                  Judge Sanket J. Bulsara on 10/21/2020. (AT&T Log #1:59 - 2:20 PM.)
                  (Altreuter, Sylvia) (Entered: 10/21/2020)
17   11/09/2020   Witness List by Dario Augello (Banuchis, Michael) (Entered:                    Events since last full update
                  11/09/2020)
       Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 25 of 27
                                                                                                                 Page 5 of 7
                                    1:20cv3370, Augello V. Ramskyte

#    Date         Proceeding Text                                                                Source
18   11/09/2020   Exhibit List by Dario Augello. (Banuchis, Michael) (Entered:                   Events since last full update
                  11/09/2020)
19   11/09/2020   Witness List by Kristina Ramskyte (Pascazi, Michael) (Entered:                 Events since last full update
                  11/09/2020)
20   11/09/2020   Letter re: extension to file objections and statement of stipulated facts by   Events since last full update
                  Dario Augello (Banuchis, Michael) (Entered: 11/09/2020)
--   11/09/2020   SCHEDULING ORDER: The petitioner's request for an extension of                 Events since last full update
                  time to file objections to proposed exhibits and a statement of stipulated
                  facts is granted. The parties' statement of stipulated facts and any
                  objections to proposed exhibits are now due by November 12, 2020.
                  Ordered by Judge Ann M. Donnelly on 11/9/2020. (Eisen, Allison)
                  (Entered: 11/09/2020)
21   11/12/2020   Letter MOTION for Hearing Adjournment by Kristina Ramskyte.                    Events since last full update
                  (Pascazi, Michael) (Entered: 11/12/2020)
22   11/12/2020   Letter re: adjournment request by Dario Augello (Banuchis, Michael)            Events since last full update
                  (Entered: 11/12/2020)
23   11/12/2020   STIPULATION of facts by Dario Augello (Banuchis, Michael) (Entered:            Events since last full update
                  11/12/2020)
--   11/12/2020   SCHEDULING ORDER: Status conference set for November 13, 2020                  Events since last full update
                  at 11:30 a.m. via telephone conference (line (888) 363-4734, access code
                  9057625). Ordered by Judge Ann M. Donnelly on 11/12/2020. (Eisen,
                  Allison) (Entered: 11/12/2020)
--   11/13/2020   Minute Order for proceedings held before Judge Ann M. Donnelly:                Events since last full update
                  denying 21 Motion for Hearing; Status Conference held on 11/13/2020.
                  Case called; discussions held. Appearances by Michael Banuchis and
                  Richard Min for the petitioner. Michael Pascazi for the respondent. For
                  the reasons stated on the record, the respondent's motion to adjourn trial
                  is denied. Pre-trial deadlines are amended as follows: By November 20,
                  2020, the parties are to file proposed findings of fact and conclusions of
                  law. By November 27, 2020, the parties are to file an updated list of
                  witnesses, if necessary, and a list of exhibits to be offered into evidence,
                  including a one-sentence description of each exhibit and the basis for any
                  objections to the admissibility of any exhibits. The exhibits must be pre-
                  marked for the trial and exchanged with the other parties by that date.
                  Expert reports must be exchanged by November 27, 2020, and any
                  rebuttal expert reports shall be exchanged by December 2, 2020. No
                  further extensions will be granted. (Court Reporter Andronikh Barna.)
                  (Eisen, Allison) (Entered: 11/13/2020)
--   11/16/2020   SCHEDULING ORDER: Status conference set for November 19, 2020                  Events since last full update
                  at 2:30 p.m. via telephone conference (line (888) 363-4734, access code
                  9057625). Ordered by Judge Ann M. Donnelly on 11/16/2020. (Eisen,
                  Allison) (Entered: 11/16/2020)
--   11/19/2020   Minute Entry for proceedings held before Judge Ann M. Donnelly:                Events since last full update
                  Status Conference held on 11/19/2020. Case called; discussions held.
                  Appearances by Michael Banuchis and Richard Min for the petitioner.
                  Michael Pascazi for the respondent. Trial will proceed on December 7,
                  2020 at 9:30 a.m. via Cisco WebEx. The parties should download
                  WebEx in advance of trial; creating an account is not necessary. The
                  Court will circulate a link to the WebEx site via email. All witnesses and
                  interpreters should have access to a webcam and microphone. In the
                  event a witness does not have a webcam on his or her computer, the
                  witness may download the WebEx mobile app on a smartphone or tablet.
                  Interpreters will conduct simultaneous translation; they will need to have
                  a separate line connected to the witness and should mute their WebEx
                  line when they are not speaking to the Court. The parties should be
                  prepared to share their screens to show exhibits in real time as they enter
                  them into evidence. In addition to sending hard copies of pre-marked
                  exhibits to the Court by November 30, the parties must also email all
                  pre-marked exhibits by this date. Following trial, the parties must jointly
       Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 26 of 27
                                                                                                              Page 6 of 7
                                   1:20cv3370, Augello V. Ramskyte

#    Date         Proceeding Text                                                             Source
                  send the Court two flash drives with all admitted exhibits marked. (Court
                  Reporter Anthony Frisolone.) (Eisen, Allison) (Entered: 11/19/2020)
24   11/20/2020   Proposed Findings of Fact by Kristina Ramskyte (Pascazi, Michael)           Events since last full update
                  (Entered: 11/20/2020)
25   11/20/2020   TRIAL BRIEF Pre Trial Brief by Dario Augello (Banuchis, Michael)            Events since last full update
                  (Entered: 11/20/2020)
26   11/27/2020   Witness List by Kristina Ramskyte (Pascazi, Michael) (Entered:              Events since last full update
                  11/27/2020)
27   11/27/2020   Proposed Findings of Fact by Kristina Ramskyte (Pascazi, Michael)           Events since last full update
                  (Entered: 11/27/2020)
28   11/27/2020   Exhibit List Revised Exhibit List by Dario Augello. (Banuchis, Michael)     Events since last full update
                  (Entered: 11/27/2020)
29   11/28/2020   Exhibit List by Kristina Ramskyte. (Pascazi, Michael) (Entered:             Events since last full update
                  11/28/2020)
--   12/01/2020   SCHEDULING ORDER: The final pre-trial conference set for                    Events since last full update
                  Wednesday, December 2, 2020 at 2:30 p.m. will proceed by video. The
                  Court will email the parties a link to access the video conference. The
                  public may call the conference number: 650-479-3207; access code
                  1800502282. Ordered by Judge Ann M. Donnelly on 12/1/2020. (Eisen,
                  Allison) (Entered: 12/01/2020)
30   12/01/2020   MOTION to Stay Virtual Trial, MOTION for Judgment on the Pleadings          Events since last full update
                  as to Removal, MOTION for Protective Order Not Allowing Petitioner's
                  Witnesses to Testify at Trial Remotely, and Allowing GA to Testify In
                  Camera by Kristina Ramskyte. (Attachments: # 1 Memorandum in
                  Support Memorandum of Law in Support, # 2 Declaration Declaration of
                  Ramskyte in Support, # 3 Declaration Declaration of Pascazi in Support,
                  # 4 Exhibit Ex A Father's Verified Petition with Exhibits, # 5 Exhibit Ex
                  B Mother's Amended Verified Answer with Exhibits, # 6 Exhibit Ex C
                  2014 Minor's Curt of Rome Order &amp; 2015 Appeal's Court Decision,
                  # 7 Exhibit Ex D Administrative Order 2020-26 EDNY 112420, # 8
                  Exhibit Ex E Declaration of Alan Tepp PhD 090820, # 9 Exhibit Ex F
                  Italian Civil Code Article 315-bis, # 10 Exhibit Ex G CV of Alan Tepp
                  PhD) (Pascazi, Michael) (Entered: 12/01/2020)
31   12/01/2020   Letter re: motion and objections by Dario Augello (Banuchis, Michael)       Events since last full update
                  (Entered: 12/01/2020)
32   12/01/2020   Exhibit List Petitioner's Objections to Respondent's Proposed Exhibits by   Events since last full update
                  Dario Augello. (Banuchis, Michael) (Entered: 12/01/2020)
--   12/01/2020   ORDER: The petitioner should be prepared to respond to the                  Events since last full update
                  respondent's motion 30 during the final pre-trial conference set for
                  Wednesday, December 2, 2020 at 2:30 p.m. Ordered by Judge Ann M.
                  Donnelly on 12/1/2020. (Eisen, Allison) (Entered: 12/01/2020)
--   12/02/2020   Minute Order for proceedings held before Judge Ann M. Donnelly:             Events since last full update
                  denying 30 Motion to Stay; denying 30 Motion for Judgment on the
                  Pleadings; taking under advisement 30 Motion for Protective Order;
                  Final Pretrial Conference held on 12/2/2020. Case called; discussions
                  held. Appearances by Michael Banuchis and Richard Min for the
                  petitioner. Michael Pascazi for the respondent. For the reasons stated on
                  the record, the respondent's motions to stay the upcoming trial and for a
                  judgment on the pleadings are denied; the respondent's motion for a
                  protective order will be taken under advisement. A written order on the
                  respondent's motion to stay will follow. (Court Reporter Georgette
                  Betts.) (Eisen, Allison) (Entered: 12/02/2020)
--   12/04/2020   SCHEDULING ORDER: The trial set for Monday, December 7, 2020 at             Events since last full update
                  9:30 a.m. will proceed by video. The Court will email the parties a link
                  to access the video conference. The public may call the conference
                  number: 650-479-3207; access code 1804349976. Ordered by Judge Ann
                  M. Donnelly on 12/4/2020. (Eisen, Allison) (Entered: 12/04/2020)
33   12/04/2020   Letter advising Court of settlement agreement by Dario Augello              Events since last full update
                Case 1:18-cv-02185-LJL Document 317-1 Filed 01/07/21 Page 27 of 27
                                                                                                                             Page 7 of 7
                                                 1:20cv3370, Augello V. Ramskyte

 #           Date              Proceeding Text                                                               Source
                               (Attachments: # 1 Executed Agreement, # 2 Executed Agreement)
                               (Banuchis, Michael) (Entered: 12/04/2020)
 34          12/04/2020        Stipulation for voluntary return order. In light of the parties settlement,   Events since last full update
                               the trial scheduled for December 7, 2020 will be removed from the
                               Courts calendar. Ordered by Judge Ann M. Donnelly on 12/4/2020.
                               (Greene, Donna) (Entered: 12/04/2020)
 35          12/14/2020        Letter Seeking Pick-Up From the Court of Child's Passport by Kristina         Events since last full update
                               Ramskyte (Pascazi, Michael) (Entered: 12/14/2020)
 --          12/14/2020        ORDER: A passport belonging to the respondent is currently being held         Events since last full update
                               in the Sealed Record Room. In light of the settlement in this matter 33 ,
                               the respondent may retrieve the passport at any time. Ordered by Judge
                               Ann M. Donnelly on 12/14/2020. (Greene, Donna) (Entered:
                               12/14/2020)
 37          12/30/2020        Letter confirming return of Child by Dario Augello (Banuchis, Michael)        Events since last full update
                               (Entered: 12/30/2020)


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